        Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 1 of 13




                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK
________________________________________________________________________

KIRAN VUPPALA,                                             CASE NO: 1:22-cv-7968

         Plaintiff,

vs.                                                        COMPLAINT

LAZ PARKING, LLC, a Connecticut limited
liability company, d/b/a LAZ PARKING –
SEAPORT DISTRICT, PIER 17, and 250
SEAPORT DISTRICT, LLC, a Delaware
limited liability company,

      Defendants.
__________________________________/

         Plaintiff, KIRAN VUPPALA (hereinafter the “Plaintiff”), through his undersigned

counsel, hereby files this Complaint and sues LAZ PARKING, LLC, a Connecticut limited

liability company, d/b/a LAZ PARKING - SEAPORT DISTRICT, PIER 17, and 250

SEAPORT DISTRICT, LLC, a Delaware limited liability company (hereinafter,

collectively, the “Defendants”), for injunctive relief, attorney’s fees and costs (including,

but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §12181, et. seq., of

the AMERICANS WITH DISABILITIES ACT (“ADA”), the NEW YORK CITY

HUMAN RIGHTS LAW ("NYCHRL"), and the NEW YORK STATE HUMAN RIGHTS

LAW (“NYSHRL”) and alleges:

                             JURISDICTION AND PARTIES

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of

the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter referred to as

the “ADA”). This Court is vested with original jurisdiction under 28 U.S.C. §1331 and

§343.



                                               1
      Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 2 of 13




        2.         Venue is proper in this Court, pursuant to 28 U.S.C. §1391(b)

in that all events giving rise to this lawsuit occurred in New York.

        3.         The remedies provided by the New York State Human Rights Law are not

exclusive and state administrative remedies need not be exhausted in connection with suits

brought under the Federal Civil Rights Act.

        4.         At the time of Plaintiff’s visit to LAZ PARKING - SEAPORT DISTRICT,

PIER 17, prior to instituting the instant action, KIRAN VUPPALA (hereinafter referred to

as “Plaintiff”), suffered from what constitutes a “qualified disability” under the Americans

With Disability Act of 1990, as he is a paraplegic and uses a wheelchair for mobility. The

Plaintiff personally visited Defendants’ Property, but was denied full and equal access to,

and full and equal enjoyment of, the facilities at Defendants’ Property, which is the subject

of this lawsuit.

        5.         The Defendants, LAZ PARKING, LLC, a Connecticut limited liability

company, d/b/a LAZ PARKING - SEAPORT DISTRICT, PIER 17, and 250 SEAPORT

DISTRICT, LLC, a Delaware limited liability company, are authorized to conduct, and are

conducting business within the State of New York. Upon information and belief, LAZ

PARKING, LLC, is the lessee and/or operator of the real property (hereinafter and

heretofore referred to collectively as “Defendants’ Property”), and the owner of the

improvements where the Subject Facility is located which is the subject of this action, the

facility commonly referred to as LAZ PARKING - SEAPORT DISTRICT, PIER 17

(hereinafter the “Subject Facility”) located at 294 Pearl Street, New York, New York

(hereinafter and heretofore referred to collectively as “Defendants’ Property”), which also

maintains and controls the Subject Facility. Upon information and belief, 250 SEAPORT




                                              2
        Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 3 of 13




DISTRICT, LLC, is the owner, lessor and/or operator of the real property where the Subject

Facility is located which is the subject of this action, the facility commonly referred to as

LAZ PARKING - SEAPORT DISTRICT, PIER 17, located at 294 Pearl Street, New York,

New York (hereinafter and heretofore referred to collectively as “Defendants’ Property”),

which also maintains and controls the Subject Facility.

         6.    All events giving rise to this lawsuit occurred in the City of New York, State

of New York. Venue is proper in this Court as the premises is located in the State of New

York.

 COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

         7.    On or about July 26, 1990, Congress enacted the Americans With

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its requirements.

The effective date of the Title III of the ADA was January 26, 1992. 42 U.S.C. §12181;

20 C.F.R. §36.508(a).

         8.    Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or
               mental disabilities, and this number shall increase as the population
               continues to grow older;

               (ii)     historically, society has tended to isolate and segregate
               individuals with disabilities, and, despite some improvements,
               such forms of discrimination against disabled individuals continue
               to be a pervasive social problem, requiring serious attention;

               (iii)     discrimination against disabled individuals persists in such
               critical areas as employment, housing, public accommodations,
               transportation, communication, recreation, institutionalization,
               health services, voting and access to public services and public
               facilities;

               (iv)     individuals with disabilities continually suffer forms of



                                             3
     Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 4 of 13




               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, failure to make modifications to existing
               facilities and practices. Exclusionary qualification standards and
               criteria, segregation, and regulation to lesser services, programs,
               benefits, or other opportunities; and,

              (v)       the continuing existence of unfair and unnecessary
               discrimination and prejudice denies people with disabilities the
               opportunity to compete on an equal basis and to pursue those
               opportunities for which our country is justifiably famous, and costs
               the United States billions of dollars in unnecessary expenses
               resulting from dependency and non-productivity.

               42 U.S.C. §12101(a)(1)-(3), (5) and (9).

       9.      Congress explicitly stated that the purpose of the ADA was to:

               (i)    provide a clear and comprehensive national mandate for the
               elimination of discrimination against individuals with disabilities;

               (ii)   provide clear, strong, consistent, enforceable standards
               addressing discrimination against individuals with disabilities;
               and,

               (iii)  invoke the sweep of congressional authority, including the
               power to enforce the fourteenth amendment and to regulate
               commerce, in order to address the major areas of discrimination
               faced on a daily by people with disabilities.

               42 U.S.C. §12101(b)(1)(2) and (4).

       10.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject

Facility is a place of public accommodation in that it is an establishment which provides

goods and services to the public.

       11.     Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building and/or

Subject Facility which is the subject of this action is a public accommodation covered by

the ADA and which must be in compliance therewith.




                                            4
      Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 5 of 13




       12.      The Plaintiff is informed and believes, and therefore alleges, that the Subject

Facility has begun operations, and/or undergone substantial remodeling, repairs and/or

alterations, since January 26, 1990, and/or has sufficient income to make readily achievable

accessibility modifications.

       13.      Defendants have discriminated, and continue to discriminate, against the

Plaintiff, and others who are similarly situated, by denying full and equal access to, and

full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

accommodations at Defendants’ Property, in derogation of 42 U.S.C. §12101, et. seq., and

as prohibited by 42 U.S.C. §12182, et. seq., and by failing to remove architectural barriers

pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

       14.      The Plaintiff has been unable to, and continues to be unable to, enjoy full

and equal safe access to, and the benefits of, all the accommodations and services offered

at Defendants’ Property. Prior to the filing of this lawsuit, Plaintiff personally visited

Defendants’ Property, with the intention of using Defendants’ facilities, but was denied

access to the Subject Property, and therefore suffered an injury in fact. In addition, Plaintiff

continues to desire to visit the Subject Property in the future, but continues to be injured in

that he is unable to and continues to be discriminated against due to the architectural

barriers which remain at Subject Property, all in violation of the ADA, and the New York

State Human Rights Law.

       15.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations

to implement the requirements of the ADA, known as the Americans with Disabilities Act

Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under which said




                                              5
      Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 6 of 13




Department may obtain civil penalties of up to $110,000 for the first violation and

$150,000 for any subsequent violation.

        16.          The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181, et.

seq., the ADA and 28 C.F.R. §36.302, et. seq., and is discriminating against the Plaintiff

as a result of inter alia, the following specific violations:

              (i)       Failure to provide the minimum number of handicap parking spaces in

                        compliance with the requirements of 28 C.F.R. Part 36, Section 4.6.3,

                        and are located on the shortest route of safe travel from the entrance as

                        required by 28 C.F.R. Part 36, Section 4.6.2, as well as a compliant

                        pathway from said accessible parking spaces to the entrance.

              (ii)      Failure to provide accessible parking spaces at least 96 inches in width,

                        in violation of 28 C.F.R. Part 36, Section 4.6.3., with the required

                        striped parking access aisles on an accessible route to the entrance, in

                        violation of 28 C.F.R. Part 36, Section 4.3.

              (iii)     Failure to provide passenger loading zones with an access aisle of at

                        least 60 inches in width and 20 feet in length adjacent and parallel to the

                        vehicle pull-up space, in violation of 28 C.F.R. Part 36, Section 4.6.6.

              (iv)      Failure to provide one in every eight accessible spaces, but not less than

                        one, with an accessible 96 inch wide minimum, with the designation of

                        “van accessible”, in violation of 28 C.F.R. Part 36, Section 4.6.4 and

                        Section 4.1.2 (5)(b).

              (v)       Failure to provide valet parking with an ADA compliant passenger

                        loading zone which complies with the requirements of 28 C.F.R. Part




                                                  6
Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 7 of 13




             36, Section 4.6.6, and is located on an accessible route to the entrance,

             in violation of 28 C.F.R. Part 36, Section 4.1.2(5)(e).

    (vi)     Failure to provide access to the sales counter, due to an insurmountable

             step in front of said sales counter, without an ADA-compliant ramp

             and/or wheelchair lift, in violation of 28 C.F.R. Part 36, Section 4.3.

    (vii)    The sales counter is inaccessible, in violation of 28 C.F.R. Part 36,

             Section 7.2(1), which requires that a portion of the main counter, which

             is a minimum of 36 inches (915 mm) in length, shall be provided with

             a maximum height of 36 inches (915 mm) above the finished floor.

    (viii)   Security glazing is not ADA compliant, in violation of 2010 ADA

             Standards Section 904.6.

    (ix)     Failure to provide access to the automated ticket dispenser, due to a step

             at said entrance of automated ticket dispenser, without an ADA-

             compliant ramp and/or wheelchair lift, in violation of 28 C.F.R. Part 36,

             Section 4.3.

    (x)      Failure to provide access to the parking attendant office, due to an

             insurmountable step at said parking attendant office, without an ADA-

             compliant ramp and/or wheelchair lift, in violation of 28 C.F.R. Part 36,

             Section 4.3.

    (xi)     The electronic help button, at the automated ticket dispenser, is at an

             inaccessible height, in violation of 28 C.F.R. Part 36, Section 4.2.




                                        7
      Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 8 of 13




              (xii)    Failure to provide adequate directional and accurate informational

                       signage throughout the Subject Facility, as required by 28 C.F.R. Part

                       36, Section 4.1.3(16).

              (xiii)   Failure to provide signage, in the Subject Facility, addressing people

                       with disabilities, telling them that accessible services are provided, as

                       required by 28 C.F.R. Part 36, Section 4.30.4.

       17.      Upon information and belief, there are other current violations of the ADA at

Defendants’ Property, and only once a full inspection is done can all said violations be

identified.

       18.      To date the architectural barriers, the removal of which is readily achievable,

and other violations of the ADA still exist and have not been remedied or altered in such a

way as to effectuate compliance with the provisions of the ADA.

       19.      Pursuant to the ADA, 42 U.S.C. §12101, et seq., and 28 C.F.R. §36.304, the

Defendants were required to make the Subject Facility, a place of public accommodation,

accessible to persons with disabilities since January 28, 1992. To date, the Defendants

have failed to comply with this mandate.

        20.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to make it

independently accessible to, and useable by, individuals with disabilities to the extent

required by the ADA, and closing the Subject Facility until the requisite modifications are

completed.




                                                8
      Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 9 of 13




COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS LAW

        21.   The New York City Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being
                the owner, lessee, proprietor, manager, superintendent, agent or employee
                of any place or provider of public accommodation because of the actual or
                perceived … disability … of any person, directly or indirectly, to refuse,
                withhold from or deny to such person any of the accommodations,
                advantages, facilities or privileges thereof … to the effect that any of the
                accommodations, advantages, facilities and privileges of any such place or
                provider shall be refused, withheld from or denied to any person on
                account of … disability …

                NYC Admin. Code § 8-107(4)(a).

        22.   Defendants, LAZ PARKING, LLC, a Connecticut limited liability company,

d/b/a LAZ PARKING - SEAPORT DISTRICT, PIER 17, and 250 SEAPORT DISTRICT,

LLC, a Delaware limited liability company, are in violation of the New York City Human

Rights Law by denying the Plaintiff full and safe access to all of the benefits,

accommodations and services of the Subject Facility.

        23.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 20

as if set forth in their entirety here.

 COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS LAW

        24.   The New York State Human Rights Law provides:

                (a) It shall be an unlawful discriminatory practice for any person, being
                the owner, lessee, proprietor, manager, superintendent, agent or employee
                of any place of public accommodation…. because of the … disability …
                of any person, directly or indirectly, to refuse, withhold from or deny to
                such person any of the accommodations, advantages, facilities or
                privileges thereof … to the effect that any of the accommodations,
                advantages, facilities and privileges of any such place shall be refused,
                withheld from or denied to any person on account of … disability …

                NYS Exec. Law § 296 (2)(a).




                                             9
     Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 10 of 13




        25.   Defendants’ Property is a place of public accommodation as defined in the

New York State Human Rights Law.

        26.   The Defendants have further violated the New York State Human Rights Law

by being in violation of the rights provided under the ADA.

        27.   Defendants, LAZ PARKING, LLC, a Connecticut limited liability company,

d/b/a LAZ PARKING - SEAPORT DISTRICT, PIER 17, and 250 SEAPORT DISTRICT,

LLC, a Delaware limited liability company, are in violation of the New York State Human

Rights Law by denying the Plaintiff full and safe access to all of the benefits,

accommodations and services of the Subject Facility.

        28.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 22

as if set forth in their entirety here.

           COUNT IV - VIOLATION OF THE ADMINISTRATIVE CODE
                        OF THE CITY OF NEW YORK

        29.   The Defendants have subjected, and continues to subject, Plaintiff to disparate

treatment by directly and/or indirectly refusing, withholding, and denying the full

accommodations of the Subject Facility, and advantages, facilities and privileges of its

place of public accommodation, all because of disability, in violation of Administrative

Code § 8-107(4).

        30.   The Defendants have discriminated against Plaintiff in violation of

Administrative Code of the City of New York, § 8-107(4), and Local Law 58 by

maintaining and/or creating an inaccessible place of public accommodation.

        31.   The Local Civil Rights Restoration Act of 2005 (the "Restoration Act"), also

known as Local Law 58, clarified the scope of the Administrative Code in relation to the

New York City's Human Rights Law. The Restoration Act confirmed the legislative intent



                                             10
     Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 11 of 13




to abolish "parallelism" between the Administrative Code and the Federal and New York

State anti-discrimination laws by stating as follows:

        The provisions of this title shall be construed liberally for the
        accomplishment of the uniquely broad and remedial purposes thereof,
        regardless of whether federal or New York State civil and human rights
        laws, including those laws with provisions comparably-worded to
        provisions of this title, have been so construed.

Restoration Act § 7 amending Administrative Code § 8-130 (emphasis added).

        32.   The Administrative Code is to be construed broadly in favor of Plaintiff to the

fullest extent possible. Albunio v. City of New York, 2011 NY Slip Op 02480 (N.Y. Court

of Appeals, March 31, 2011).

        33.   As a direct and proximate result of the Defendants' unlawful discrimination,

in violation of Administrative Code of the City of New York, Plaintiff has suffered an

injury in fact.

        34.   The Defendants' long-standing refusal and/or lack of effort to make the

Subject Facility fully accessible was egregious and undertaken with reckless disregard to

Plaintiff's rights under the Administrative Code.

        35.   By failing to comply with the law in effect for decades, the Defendants have

articulated to disabled persons, such as the Plaintiff, that they in effect are not welcome

and not desired as patrons of its place of public accommodation.

        36.   The Defendants unlawful discriminatory conduct constitutes willful and

wanton violations of the Administrative Code for which Plaintiff is entitled to an award of

punitive damages. Administrative Code § 8-502.

        37.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through 27

as if set forth in their entirety here.




                                             11
     Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 12 of 13




                              ATTORNEYS’ FEES AND COSTS

       38.   The Plaintiff has been obligated to retain the undersigned counsel for the

filing and prosecution of this action. The Plaintiff is entitled to have his reasonable

attorneys’ fees, costs and expenses paid by the Defendants, pursuant to the ADA and the

New York City Human Rights Law.

       39.   Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

compensatory damages contemplated by § 297(9).

                                        DAMAGES

       40.   The Plaintiff demands one thousand dollars ($1,000.00) in compensatory

damages based on Defendants' violation of the New York City Human Rights Law and the

New York State Human Rights Law, plus punitive damages pursuant to the Administrative

Code of the City of New York.

                                    INJUNCTIVE RELIEF

       41.   Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to grant

the Plaintiff’s injunctive relief; including an order to alter the Subject Facility to make it

readily accessible to, and useable by, individuals with disabilities to the extent required by

the ADA, the New York City Human Rights Law, and the New York State Human Rights

Law and closing the Subject Facility until the requisite modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the Defendants

and requests the following injunctive and declaratory relief:

       A.      The Court declare that the Subject Property and Subject Facility owned,

               operated, leased, controlled and/or administered by the Defendants are




                                             12
    Case 1:22-cv-07968-VEC Document 3 Filed 09/19/22 Page 13 of 13




              violative of the ADA, the New York City Human Rights Law, and of the

              New York State Human Rights Law;

       B.     The Court enter an Order requiring the Defendants to alter their facilities

              and amenities to make them accessible to and usable by individuals with

              disabilities to the full extent required by the Title III of the ADA and by

              NYCHRL, and the NYSHRL;

       C.     The Court enter an Order directing the Defendants to evaluate and neutralize

              their policies, practices and procedures toward persons with disabilities, for

              such reasonable time so as to allow the Defendants to undertake and

              complete corrective procedures to the Subject Facility;

       D.     The Court award reasonable attorney’s fees, all costs (including, but not

              limited to court costs and expert fees) and other expenses of suit, to the

              Plaintiff; and

       E.     The Court award such other and further relief as it deems necessary, just

              and proper.

Dated: This 18th day of September, 2022.

                                             Respectfully submitted,

                                             By: /S/ B. Bradley Weitz           .
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                                           13
